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   1 LUIS LI (State Bar No. 156081)
     Luis.Li@wsgr.com
   2 ERIC P. TUTTLE (State Bar No. 248440)
     Eric.Tuttle@wsgr.com
   3 WILSON SONSINI GOODRICH & ROSATI, P.C.
     633 West Fifth Street, Suite 1550
   4 Los Angeles, California 90071
     Telephone: (323) 210-2900
   5 Facsimile: (866) 974-7329
   6 CRAIG JENNINGS LAVOIE (State Bar No. 293079)
     Craig.Lavoie@mto.com
   7 JENNIFER L. BRYANT (State Bar No. 293371)
     Jennifer.Bryant@mto.com
   8 MUNGER, TOLLES & OLSON LLP
     350 South Grand Avenue, Fiftieth Floor
   9 Los Angeles, California 90071-3426
     Telephone: (213) 683-9100
  10 Facsimile: (213) 687-3702
  11 Attorneys for Plaintiff Vanessa Bryant
  12 [Additional counsel continued on next page]
  13
  14                           UNITED STATES DISTRICT COURT
  15          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  16 VANESSA BRYANT,                                Case No. 2:20-cv-09582-JFW-E
                                                    (Consolidated with 2:20-cv-10844-
  17              Plaintiff,                        JFW-E)
  18        vs.
                                                    PLAINTIFFS’ FINAL TRIAL
  19 COUNTY OF LOS ANGELES, et al.,                 WITNESS LIST
  20              Defendants.
                                                    Pretrial Conference: August 5, 2022
  21
                                                    Trial Date: August 10, 2022
  22
                                                    The Honorable John F. Walter
  23 CHRISTOPHER L. CHESTER,
  24              Plaintiff,
  25        vs.
  26
       COUNTY OF LOS ANGELES, et al.,
  27
                  Defendants.
  28

                                 PLAINTIFFS’ FINAL TRIAL WITNESS LIST
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   1 [Additional counsel, continued from previous page]
     JEROME M. JACKSON (State Bar No. 64238)
   2
     jmjlaw@aol.com
   3 JEROME M. JACKSON LAW OFFICES
     880 Apollo Street, Suite 238
   4
     El Segundo, California 90245
   5 Telephone: (310) 726-4199
     Facsimile: (310) 414-0486
   6
   7 Attorneys for Plaintiff CHRISTOPHER L. CHESTER
   8
       LOUIS R. MILLER (State Bar No. 54141)
   9   smiller@millerbarondess.com
  10   MIRA HASHMALL (State Bar No. 216842)
       JASON H. TOKORO (State Bar No. 252345)
  11   CASEY B. SYPEK (State Bar No. 291214)
  12   MILLER BARONDESS, LLP
       1999 Avenue of the Stars, Suite 1000
  13   Los Angeles, California 90067
  14   Tel.: (310) 552-4400 | Fax: (310) 552-8400

  15 Attorneys for Defendants
  16 COUNTY OF LOS ANGELES, LOS ANGELES COUNTY FIRE DEPARTMENT,
     JOEY CRUZ, RAFAEL MEJIA, MICHAEL RUSSELL, RAUL VERSALES,
  17 ARLIN KAHAN, and TONY IMBRENDA
  18
       JONATHAN C. McCAVERTY (State Bar No. 210922)
  19   Principal Deputy County Counsel
  20   jmccaverty@counsel.lacounty.gov
       OFFICE OF THE COUNTY COUNSEL
  21   General Litigation Division
  22   500 West Temple Street, Suite 468
       Los Angeles, California 90012
  23   Tel.: (213) 974-1828 | Fax: (213) 626-7446
  24
     Attorneys for Defendant
  25 LOS ANGELES COUNTY SHERIFF’S DEPARTMENT
  26
  27
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                              PLAINTIFFS’ FINAL TRIAL WITNESS LIST
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   1         Pursuant to the Civil Trial Order (Dkt. 280), Plaintiffs Vanessa Bryant and
   2 Christopher L. Chester (“Plaintiffs”) submit the following list of witnesses Plaintiffs
   3 anticipate calling at trial in the order Plaintiffs anticipate calling them, exclusive of
   4 witnesses that Plaintiffs may call for purposes of rebuttal or impeachment.
   5         1.    Rob Pelinka (In Person)
   6         2.    David Katz (In Person)
   7         3.    Emily Tauscher (In Person)
   8         4.    Victor Gutierrez (In Person)
   9         5.    Ralph Mendez, Jr. (In Person)
  10         6.    Luella Weireter (In Person)
  11         7.    Adam Bercovici (In Person)
  12         8.    Doug Johnson (In Person)
  13         9.    Kelli Beard (In Person)
  14         10.   Brian Jordan (In Person)
  15         11.   Raul Versales (In Person)
  16         12.   Rafael Mejia (In Person)
  17         13.   Joey Cruz (In Person)
  18         14.   Michael Russell (In Person)
  19         15.   Ben Sanchez (In Person)
  20         16.   Scott Miller (In Person)
  21         17.   Ruby Cable (In Person)
  22         18.   Nicholas Bonelli (In Person)
  23         19.   Matthew Vander Horck (In Person)
  24         20.   Hector Mancinas (In Person)
  25         21.   Jorge Valdez (In Person)
  26         22.   William Jaeger (In Person)
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                                 PLAINTIFFS’ FINAL TRIAL WITNESS LIST
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   1         23.    David Freskos (In Person)1
   2         24.    Thomas Pikor (In Person)
   3         25.    Tony Imbrenda (In Person)
   4         26.    Erik Scott (In Person)
   5         27.    Sky Cornell (In Person)
   6         28.    Arlin Kahan (In Person)
   7         29.    Anthony Marrone (In Person)
   8         30.    William McCloud (In Person)
   9         31.    Jessica Wells (In Person)
  10         32.    Paul Westhead, Jr. (In Person)
  11         33.    Chris Chester (In Person)
  12         34.    Kristin Pelinka (In Person)
  13         35.    Sharia Washington (In Person)
  14         36.    Vanessa Bryant (In Person)
  15
  16 DATED: August 4, 2022                    WILSON SONSINI GOODRICH & ROSATI,
                                              PC
  17
  18
  19                                          By:           /s/ Luis Li
  20                                                              LUIS LI
  21
                                              Attorneys for Plaintiff
  22                                          VANESSA BRYANT
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      Plaintiffs reserve the right to call Freskos in their rebuttal case instead of in their
  28 case-in-chief.

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                                 PLAINTIFFS’ FINAL TRIAL WITNESS LIST
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   1 DATED: August 5, 2022              JEROME M. JACKSON LAW OFFICES
   2
   3
                                        By:            /s/ Jerome M. Jackson
   4
                                                      JEROME M. JACKSON
   5
   6                                    JEROME M. JACKSON
                                        jmjlaw@aol.com
   7                                    JEROME M. JACKSON LAW OFFICES
   8                                    880 Apollo Street, Suite 238
                                        El Segundo, California 90245
   9                                    Telephone: (310) 726-4199
  10                                    Facsimile: (310) 414-0486

  11                                    Attorneys for Plaintiff
  12                                    CHRISTOPHER L. CHESTER

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                             PLAINTIFFS’ FINAL TRIAL WITNESS LIST
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   1                                FILER ATTESTATION
   2        I, Luis Li, attest under Local Rule 5-4.3.4(a)(2)(i) that all other signatories
   3 listed, and on whose behalf the filing is submitted, concur in the filing’s content and
   4 have authorized this filing.
   5
   6   Dated: August 4, 2022                                      /s/ Luis Li
                                                                    Luis Li
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                                PLAINTIFFS’ FINAL TRIAL WITNESS LIST
